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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA


 In re
                                                                   Case No. 23-02997
 Ener1, Inc.,
                                                                   Chapter 7

                                     Debtor(s).




                                      REQUEST FOR NOTICE

         PLEASE TAKE NOTICE that Oracle America, Inc. (“Oracle”), hereby requests that all

notices given or required to be given in the above-captioned case, and all papers served or required

to be served in this bankruptcy proceeding including, without limitation, all notices pursuant to

Federal Rules of Bankruptcy Procedure 2002, 3017 and 9007, be given and served upon:
                        Shawn M. Christianson, Esq.
                        Buchalter, A Professional Corporation
                        425 Market Street, Suite 2900
                        San Francisco, California 94105-3493
                        Telephone:    (415) 227-0900
                        schristianson@buchalter.com
         Neither this Request for Notice nor any subsequent appearance, pleading, claim or suit is

intended or shall be deemed to waive Oracle’s: (i) right(s) to have all core matters subject to

Article III jurisdiction heard and decided by a district judge; (ii) right(s) to have final orders in

non-core matters entered only after de novo review by a district judge; (iii) right(s) to trial by jury

in any proceeding so triable herein or in any case, controversy or proceeding related hereto; (iv)

right(s) to have the reference withdrawn by the United States District Court in any matter subject

to mandatory or discretionary withdrawal; or (v) other rights, claims, actions, defenses, setoffs or




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recoupments to which Oracle is, or may be, entitled under agreements, in law, or in equity, all of

which rights, claims, actions, defenses, setoffs, and recoupments expressly are reserved.


                                                       BUCHALTER, A Professional Corporation



Dated: August 9, 2023                                 By: _/s/ Shawn M. Christianson__________
                                                      Shawn M. Christianson, Esq.
                                                      425 Market Street, Suite 2900
                                                      San Francisco, CA 94105
                                                      Telephone: (415) 227-0900

                                                      Attorneys for Oracle America, Inc.




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BN 78001938V1
